Case: 5:07-cr-00517-CAB Doc #: 232 Filed: 07/18/08 1 of 5. PageID #: 1286
Case: 5:07-cr-00517-CAB Doc #: 232 Filed: 07/18/08 2 of 5. PageID #: 1287
Case: 5:07-cr-00517-CAB Doc #: 232 Filed: 07/18/08 3 of 5. PageID #: 1288
Case: 5:07-cr-00517-CAB Doc #: 232 Filed: 07/18/08 4 of 5. PageID #: 1289
Case: 5:07-cr-00517-CAB Doc #: 232 Filed: 07/18/08 5 of 5. PageID #: 1290
